Case 1:18-Cv-OO788 ECF No. 1 filed 07/17/18 Page|D.l Page 1 of 11

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

GILL INDUSTRIES, INC.

Plaintiff,
Case No.

 

V.

GEELY SWEDEN HOLDINGS AB,
VOLVO CAR AB, VOLVO CAR
CORPORATION, AND VOLVO
CAR USA, LLC,

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Defcndants.

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Plaintiff, Gill Industries, Inc. (“Gill” or “Plaintiff”) files this Original Complaint against
Defendants Geely Sweden Holdings AB, Volvo Car AB, Volvo Car Corporation, and Volvo Car
USA, LLC (collectively, “Defendants”) for patent infringement under 35 U.S.C. Section 271,
alleging as follows:

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l. Plaintiff is a corporation organized and existing under the laws of the State of
Michigan, and maintains its principal place of business at 5271 Plainf`leld Ave. N.E., Grand
Rapids, Michigan 49525.

2. Gill manufactures and sells a variety of automotive components, including head
restraints, as a Tier l and Tier 2 supplier to the automotive industry. Gill sells its automotive

components throughout the world to original equipment manufacturers and their suppliers

Case 1:18-cv-OO788 ECF No. 1 filed 07/17/18 Page|D.Z Page 2 of 11

2. Gill is the owner of all right, title, and interest in and to U.S. Patent No. 7845731

(“ihe ‘731 Paiem").

3. Upon information and belief, Defendant Geely Sweden Holdings AB is a Swedish
corporation with a place of business at Box l670, Stockholm, Sweden l l l 96.

4. Upon information and belief, Defendant Volvo Car AB is a Swedish automobile
manufacturer with a place of business at VAK Building, Assar Gabrielssons vag, Goteborg,

Sweden, SE-405 31.

5. Upon information and belief, Defendant Volvo Car Corporation is a Swedish
corporation with a place of business at VAK Building, Assar Gabrielssons vag, Goteborg, Sweden,
SE-405 31.

6. Upon information and belief, Defendant Volvo Car USA, LLC (“Volvo USA”) is
a Delaware corporation with a place of business at 1 Volvo Drive, Rockleigh, New Jersey 07647.
Upon information and belief, Volvo USA is registered With the Secretary of State of Michigan to
do business in the State of Michigan.

7. Upon information and belief, Volvo USA engages in sales to Volvo dealers and
others in the United States, including in this judicial district, of products that infringe the ‘731
Patenl. Upon information and belief, at least Defendant Volvo USA has ratified the existence and
operation of the aforesaid Volvo dealers, including by executing dealer agreements which, inter
alia, set forth standards and requirements, enumerated by Volvo USA, with which the dealers are

required to comply as a condition of the operation of their dealerships

8. Upon information and belief, Volvo USA regularly, continuously, and
systematically provides support to, and exercises control over, the aforesaid Volvo dealers,

including those located in thisjudicial district.

Case 1:18-cv-OO788 ECF No. 1 filed 07/17/18 Page|D.S Page 3 of 11

9. Upon information and belief, Volvo USA extends certain warranties to the owners
of Volvo vehicles. In at least some cases, those warranties are conditioned on use of repair facilities
authorized by Volvo USA. On information and belief, there are one or more such authorized repair
facilities in this judicial district. Upon information and belief, service technicians employed at these
facilities participate in Volvo USA-sponsored training programs, schools, and events.

10. Upon information and belief, Volvo USA provides Service and Warranty Booklets
to Volvo customers, including those customers that purchase Volvo vehicles in this judicial
district. Upon information and belief, these Service and Warranty Booklets direct customers,
including those customers that purchase Volvo vehicles in this judicial district, to provide direct,
written notification of any alleged unrepaired defects or malfunctions and service difficulties to
Volvo USA’s Customer Care Ccnter.

ll. Upon information and belief, Volvo USA and/or the other Defendants engage in
marketing activities promoting the sale of Volvo~branded products in this judicial district. Upon
information and belief, such marketing activities include, without limitation, interactive
commercial websites through which Volvo USA and/or the other Defendants promote their
products, including those products Which infringe the ‘731 Patent.

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12. This is an action for patent infringement arising under the patent laws of the United
States, 35 U.S.C. Section l, et seq. This Court has jurisdiction over this action pursuant to 28
U.S.C. Sections 1331 and l338(a).

13. This Court has personal jurisdiction over the Defendants. Defendants conduct
business and have committed acts of patent infringement, and/or have induced acts of patent

infringement by others in this judicial district, and/or have contributed to patent infringement by

Case 1:18-cv-OO788 ECF No. 1 filed 07/17/18 Page|D.4 Page 4 of 11

others in thisjudicial district, in the State of Michigan, and elsewhere in the United States.

14. Venue is properin thisjudicial district pursuant to 28 U.S.C. Section 1391 and/or
28 U.S.C. Section 1400(b) because, among other things, Defendants are subject to personal
jurisdiction in this judicial district, Defendants have regular and established places of business in
the State of Michigan and in thisjudicial district, have purposely transacted business involving the
accused products in this judicial district, including sales to one or more customers in Michigan,
and certain of the acts complained of herein occurred in this judicial district. To the extent any
Defendant is not a resident in the United States, venue as to that Defendant in this judicial district
is also proper under 28 U.S.C. Section l391(c).

15. Defendants are subject to this Court’s jurisdiction pursuant to due process and/or
the Michigan Long Arm Statute, at least due to their substantial business in this State and this
judicial district, including (a) at least part of the infringing activities, (b) regularly doing or
soliciting business in Michigan, and/or (c) engaging in persistent conduct and/or deriving
substantial revenue from goods and services provided to customers in Michigan.

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16. On December 7, 2010, the United States Patent and Trademark Office duly and

legally issued the ‘731 Patent, entitled “Foldable Head Restraint." The ‘731 Patent is owned by

Plaintiff Gill and is, moreover, valid and subsisting.

17. The claims of the ‘731 Patent comprehend a head restraint support of a foldable
head restraint assembly; that is, the component of the head restraint which support the headrest
above the seat. The head restraint support includes a substantially elongated first portion, and a
curved second portion that is integrally formed with and extends from a lower end of the

substantially elongated first portion. A plastic layer is molded over the substantially elongated first

Case 1:18-cv-OO788 ECF No. 1 fi|ed 07/17/18 Page|D.B Page 5 of 11

portion and no more than a portion of the curved second portion, thereby leaving uncovered by the
plastic layer a remainder of the curved second portion that is connectable to a bracket of the
foldable head restraint assembly for rotational movement of the head restraint support relative
thereto.

18. Gill manufactures and sells, and has for years manufactured and sold, to customers
throughout the United States and the world head restraints the construction of which is
comprehended by one or more claims of the ‘731 Patent. Due to features of these head restraints
that are comprehended by one or more claims of the ‘731 Patent, Gill’s said head restraints have
been very well received in the automotive industry and Gill enjoys a prominent position in the
United States market for head restraints A representative example of a head restraint currently
offered for sale by Gill and comprehended by one or more claims of the ‘731 Patent is shown

below.

Case 1:18-cv-OO788 ECF No. 1 fi|ed 07/17/18 Page|D.€ Page 6 of 11

 

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19. 'l`he ‘731 Patent generally covers a head restraint support of a foldable head
restraint assembly.

20. Defendants manufacture and import into the United States, and sell and/or offer to
sell to customers in the United States, including this judicial district, vehicles including certain
head restraints with plastic over-molded supports (hereafter “the Volvo Head Restraints”). These
head restraints Volvo purchases from third-party suppliers including, but not limited to, Kongsberg
Automotive.

21. The Volvo Head Restraints are sold in at least Volvo XC60-model vehicles

Case 1:18-cv-OO788 ECF No. 1 fi|ed 07/17/18 Page|D.? Page 7 of 11

22. The Volvo Head Restraints include supports having a substantially elongated first
portion and a curved second portion that is integrally formed with and extends from a lower end
of the substantially elongated first portion. A plastic layer is molded over the substantially
elongated first portion and no more than a portion of the curved second portion, thereby leaving
uncovered by the plastic layer a remainder of the curved second portion that is connectable to a
bracket of the foldable head restraint assembly for rotational movement of the head restraint
support relative thereto. Photographs of the internal mechanism of an exemplary (though not

necessarily the only version) Volvo Head Restraint are shown below:

 

Case 1:18-cv-OO788 ECF No. 1 fi|ed 07/17/18 Page|D.S Page 8 of 11

 

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(Direct Infringcment of the ‘731 Patent)

23. Paragraphs l through 22 are incorporated by reference herein as if hilly set forth in
their entireties.

24. Gill has not licensed or otherwise authorized Defendants, or any of them, to make,
use, offer for saie, sell, or import any products that embody the inventions of the ‘731 Patent.

25. One or more of the Defendants have directly infringed, and continue to directly
infringe, one or more claims of the ‘731 Patent, including claims l and 20, either literally or under
the Doctrine of Equivalents, by making, using, offering to sell, selling and/or importing into the
United States vehicles (including, without limitation, model XC60 vehicles) including infringing

Volvo Head Restraints, all without authority and in violation of 35 U.S.C. Section 271.

Case 1:18-cv-OO788 ECF No. 1 fi|ed 07/17/18 Page|D.Q Page 9 of 11

26. Gill has suffered damages as a result of Defendants’ infringement of the ‘731
Patent in an amount to be proved at trial.

27. Gill has suffered, and will continue to suffer, irreparable harm as a result of
Defendants‘ infringement of the ‘731 Patent, for which there is no adequate remedy at law, unless
Defendants’ infringement is enjoined by this Court.

28. Defendants have committed and continue to commit acts of infringement that
Defendants actually knew or should have known constituted an unjustifiany high risk of
infringement of at least one valid and enforceable claim of the ‘731 Patent. Upon information and
belief, Defendants had actual knowledge of the ‘731 Patent. Defendants’ infringement of the "731
Patent has been and continues to be willful, entitling Gill to an award of treble damages, reasonable
attorney fees, and costs in bringing this action.

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(Indirect Infringement of thc ‘731 Patent)

29. Paragraphs l through 28 are incorporated by reference herein as if fully set forth in
their entireties.

30. Gill has not licensed or otherwise authorized Defendants, or any of them, to make,
use, offer for sale, sell, or import any products that embody the inventions of the ‘731 Patent.

31. One or more of the Defendants have and continue to indirectly infringe one or more
claims of the ‘731 Patent by knowingly and intentionally inducing others, including others of the
Defendants, to directly infringe, either literally or under the Doctrine of Equivalents, by making,
using, offering to sell, Selling and/or importing into the United States the infringing Volvo Head
Restraints. For examp|e, one or more of the Defendants, with knowledge that the Volvo Head

Restraints infringe the ‘731 Patent at least as of the date of this Complaint, knowingly and

Case 1:18-cv-OO788 ECF No. 1 fi|ed 07/17/18 Page|D.lO Page 10 of 11

intentionally induced, and continue to knowingly and intentionally induce, direct infringement of
the ‘731 Patent by their active participation in the manufacture and international distribution of
vehicles including the infringing Volvo Head Restraints. Such conduct was undertaken with the
intent to cause infringing acts by others, including others of the Defendants, or, in the altemative,
with the belief that there was a high probability that others, including others of the Defendants,
infringe the ‘731 Patent, but while remaining willfully blind to the infringement

32. Gill has suffered damages as a result of Defendants’ infringement of the ‘731
Patent in an amount to be proved at trial.

33. Gill has suffered, and will continue to suffer, irreparable harm as a result of
Defendants’ infringement of the ‘731 Patent, for which there is no adequate remedy at law, unless
Defendants’ infringement is enjoined by this Court.

34. Defendants have committed and continue to commit acts of infringement that
Defendants actually knew or should have known constituted an unjustifiany high risk of
infringement of at least one valid and enforceable claim of the ‘731 Patent. Upon information and
belief, Defendants had actual knowledge of the "/'31 Patent. Defendants’ infringement of the ‘731
Patent has been and continues to be willful, entitling Gill to an award of treble damages, reasonable

attorney fees, and costs in bringing this action.

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Plaintiff hereby demands a jury for all issues so triable.

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WHEREFORE, Plaintiff Gill prays for relief against Defendants as follows:

A. Entry of judgment declaring that Defendants have directly and/or indirectly

Case 1:18-cv-OO788 ECF No. 1 fi|ed 07/17/18 Page|D.11 Page 11 of 11

infringed one or more claims of the ‘731 Patent;

B. Entry of judgment declaring that Defendants’ infringement of the ‘731 Patent has
been willful and deliberate;

C. An order pursuant to 35 U.S.C. Section 283 permanently enjoining Defendants,
their officers, agents, servants, employees, attorneys, and those persons in active concert or
participation with them, from further acts of infringement of the "/`31 Patent;

D. An order awarding damages sufficient to compensate Gill for Defendants’
infringement of the ‘731 Patent, but in no event less than a reasonable royalty, together with
interest and costs;

E. An order awarding Gill treble damages under 35 U.S.C. Section 284 as a result of
Defendants’ Willful and deliberate infringement of the‘731 Patent;

F. Entry of judgment declaring that this case is exceptional and awarding Gill its costs

and reasonable attorney’s fees under 35 U.S.C. Section 285; and

G. Such other and further relief as the Court deems just and proper.

DICKINSON WRIGHT PLLC

By: /s/ Chris Mitchell
CHRISTOPHER A. MITCHELL
DICKINSON WRIGHT PLLC
200 OTTAWA AVE NW
SUITE 1000
Grand Rapids, Michigan 49503
616 336 1058

cmitchell@dickinsonwright.com
Attomeys for Plaintiff Gill Industries, Inc.

Dated: 17 July 2018

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